                           IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF ARIZONA

In re:                                 )                 CASE NO. 19-14401
                                       )
OXYGEN HOSPITALITY GHROUP, INC.        )                 BUSINESS AND INDUSTRY
                                       )                 MONTHLY OPERATING REPORT
                                       )
                                       )                 MONTH OF         March-20
                                       )
                                       )                 DATE PETITION FILED:         11/12/2019
                                Debtor )
                                       )                 TAX PAYER ID NO. :


Nature of Debtor's Business: ____________Hotel Management



               DATE DISCLOSURE STATEMENT FILED                      TO BE FILED

          DATE PLAN OF REORGANIZATION FILED                         TO BE FILED

               I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOLLOWING MONTHLY OPERATING REPORT AND
               THE ACCOMPANYING ATTACHMENTS ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE.

RESPONSIBLE PARTY:

David Valade                                                        CFO
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                       TITLE

David Valade                                                            4/14/2020
PRINTED NAME OF RESPONSIBLE PARTY                                             DATE

PREPARER:

David Valade                                                        CFO
ORIGINAL SIGNATURE OF PREPARER                                                TITLE

David Valade                                                            4/14/2020
PRINTED NAME OF PREPARER                                                      DATE

                 PERSON TO CONTACT REGARDING THIS REPORT: David Valade

                                                   PHONE NUMBER: 480-236 -2712

                                                         ADDRESS: 3600 N. 2 nd Ave. Phoenix, AZ 85013

                               FILE ORIGINAL REPORT ELECTRONICALLY WITH THE COURT




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OXYGEN HOSPITALITY GROUP, INC.                                                                          CURRENT MONTH"S
Case Number:                                   19-14401                                            RECEIPTS AND DISBURSEMENTS
                                                                                         BANK ACCOUNTS
                                                      Cash                Operating                 Payroll       Tax     Total

                                                                    #1345                      #              #


Balance at Beginning of Period                                                        390.6                                       390.6

RECEIPTS
   Cash Sales
   Accounts Receivable
   Loans and Advances
   Sale of Assets


   Transfers from Other DIP Accounts


   Other (attach list)

   TOTAL RECEIPTS

DISBURSEMENTS
   Business - Ordinary Operations
   Capitol Improvements
   Pre-Petition Debts
   Transfers to Other DIP Accounts
   Other (attach list)



  Reorganization Expenses:
     Attorney Fees
     Accountant Fees
     Other Professional Fees
     U. S. Trustee Quarterly Fee
     Court Costs


  TOTAL DISBURSEMENTS                                                                 390.6                                       390.6


Balance at End of Month
*Information provided above should reconcile with balance sheet and income statement amounts


DISBURSEMENTS FOR CALCULATING QUARTERLY FEES:
  Total Disbursements From Above                                                                                                  390.6
   Less: Transfers to Other DIP Accounts
   Plus: Estate Disbursements Made by Outside Sources (payments from escrow; 2-party check; related parties; etc.)
  Total Disbursements for Calculating Quarterly Fees                                                                              390.6
                                                                    Page 2


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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                                       19-14401                      INCOME STATEMENT
                                                                                            (Accrual Basis)

*Debtor's own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals,
(2) year-to-date and filing-to-date information is provided, and (3) if reorganization expenses are segregated in the statement.

REVENUES                                                    Current Month                   Year to Date                 Total SInce Filing
  Gross Revenue
  Less: Returns & Discounts
       Net Revenue

COST OF GOODS SOLD
  Material
  Direct Labor
  Direct Overhead (attach detail)
      Total Cost of Goods Sold

       GROSS PROFIT


OPERATING EXPENSES
 Officer/Insider Compensation
 Selling & Marketing (attach detail)
 General & Administrative (attach detail)                                                             1,264.27                       5,469.15
 Other Expenses (attach detail)
       Total Operating Expenses                                                                        1,264.27                      5,469.15

Income Before Non-operating Income and
Expense                                                                                              (1,264.27)                     (5,469.15)

OTHER INCOME & EXPENSE
  Other Income (attach list)
  Other Expense (attach list)
  Interest Expense                                                     2,197.74                       6,294.62                       8,267.22
  Depreciation/Depletion
  Amortization
       Net Other Income & Expense                                      (2,197.74)                    (6,294.62)                     (8,267.22)

LOSS Before Reorganization Expense                                     (2,197.74)                    (7,558.89)                    (13,736.37)

REORGANIZATION EXPENSES
  Professional Fees                                                    1,043.50                       1,685.90                       3,726.60
  U.S. Trustee Fees
  Other (attach list)
       Total Reorganization Expenses                                   (1,043.50)                    (1,685.90)                     (3,726.60)

 Income Tax                                                                                                                        (17,462.97)

NET LOSS                                                               (3,241.24)                    (9,244.79)                    (17,462.97)

                                                                     Page 3


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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                      19-14401              INCOME STATEMENT
                                                                    Month:   March-20
                 OPERATING EXPENSES
 Other Expenses (attach detail)
Late Fees and Penalities
Telephone Expense Corporate
Total                                        0.00




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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                                     19-14401                                COMPARATIVE BALANCE SHEET
                                                                                                                  (Accrual Basis)

*Debtor's own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals, (2) current
and prior period information is provided, and (3) if pre-petition and post-petition liabilities are segregated.

ASSETS                                               SCHEDULE AMOUNT1                     CURRENT MONTH                         PRIOR MONTH
 Unrestricted Cash                                               3986.56                            390.60                                390.60
 Restricted Cash
     Total Cash                                                           3986.56                            390.60                       390.60
    Accounts Receivable (net)
    Inventory
    Notes Receivable
    Prepaid Expenses
    Other (attach list)
        Total Current Assets
    Property, Plant & Equipment                                            918.00                            918.35                       918.00
 Less: Accumulated Depreciation
     Net Property, Plant & Equip.
 Due From Insider(s)
 Other Assets - net (attach list)
 Other (attach list)                                                1,932,337.78                      1,932,323.65                    1,932,323.65
TOTAL ASSETS                                                         1937242.34                      1,933,632.60                    1,933,632.25
POST-PETITION LIABILITIES
    Accounts Payable                                                                                        1644.19                           458
    Taxes Payable
    Notes Payable
    Professional Fees                                                                                         3571.1                      3713.79
 Secured Debt
 Other (attach list)                                                                                       8637.94                               0
     Total Post-Petition Liabilities                                                                     13,853.23                       4,171.79
PRE-PETITION LIABILITIES
    Secured Debt
    Priority Debt
    Unsecured Debt                                                     567671.23                         567671.23                      567671.23
    Other (attach list)
    Total Pre-Petition Liabilities                                     567671.23                         567671.23                      567671.23
TOTAL LIABILITIES                                                      567671.23                        581,524.46                     571,843.02
EQUITY
    Pre-petition Owner's Equity                                    1,369,571.11                      1,369,571.11                    1,369,571.11
    Post-Petition Cumulative Profit/Loss                                                                (17,462.97)                    (17,462.97)
    Direct Charges to Equity (explain)
        Total Equity                                                  1369571.11                     1,352,108.14                    1,352,108.14
TOTAL LIABILITIES & OWNER'S EQUITY                                    1937242.34                     1,933,632.60                    1,923,951.16
1
    This column should reflect the information provided in Schedules A, B, C, D, E, and F filed with the Court

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Case Number:                          19-14401                Balance Sheet Schedules
                                                                            Month:      March-20


                         ASSETS
 Other (attach list)
Due From Hotel Oxygen Palm Spr                509,892.29
Due from A Great Hotel Company               156,872.83
Due To/From AGHCAZ                           (171,803.99)
Due/To HOM                                  1,437,362.52
Total                                       1,932,323.65


                POST-PETITION LIABILITIES
 Other (attach list)
Accrued Interest                                 8,637.94

Total                                           8,637.94




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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                                          19-14401


 *Information provided on this page should reconcile with balance sheet amounts

ACOUNTS RECEIVABLE                                             TOTAL              0-30 Days   31-60 Days      60+ Days
Total Accounts Receivable
 Less Amount Considered Uncollectible                 N/A
Net Accounts Receivable

DUE FROM INSIDER
Schedule Amount
 Plus: Amount Loaned Since Filing Date
 Less: Amount Collected Since Filing Date             N/A
 Less: Amount Considered Uncollectible
Net Due From Insiders

INVENTORY
Beginning Inventory
Plus: Purchases                                       N/A
Less: Cost of Goods Sold
Ending Inventory

               Date Last Inventory was taken:

FIXED ASSETS                                          SCHEDULE AMOUNT ADDITIONS               DELETIONS CURRENT BOOK AMOUNT
Real Property                                                                                                                  0
Buildings                                                                                                                  $0.00
 Accumulated Depreciation                                                                                                  $0.00
 Net Buildings                                                                                                             $0.00
Equipment                                                             $918.00                                            $918.00
 Accumulated Depreciation                                                                                                  $0.00
 Net Equipment                                                        $918.00                                            $918.00
Autos/Vehicles
 Accumulated Depreciation
 Net Autos/Vehicles

Provide a description of fixed assets added or deleted during the reporting period; include the date of Court order:




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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                                   19-14401                              STATUS OF LIABILITIES
                                                                                   AND SENSITIVE PAYMENTS
 *Information provided on this page should reconcile with balance sheet and disbursement detail amounts
POST-PETITION LIABILITIES                           TOTAL            0-30 Days             31-60 Days     61-90 Days      91+ Days

 Accounts Payable *                                  1,666.19              1644.19
 Taxes Payable
 Notes Payable

 Professional Fees Payable                           3,571.10               3571.1
 Secured Debt
 Other (attach list)                                   8,637.94            8637.94


Total Post-Petition Liabilities                    13,875.23            13,853.23
*DEBTOR MUST ATTACH AN AGED ACCOUNTS PAYABLE LISTING


               PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                            Insiders
                                                                                       Amount Paid this   Total Paid to
                   Name                               Reason for Payment                   Month              Date




N/A




Total Payments to Insiders



                                                       Professionals
                                                Date of Court
                                                   Order
                                                 Authorizing     Amount                Amount Paid this   Total Paid to
                   Name                           Payment        Aproved                   Month              Date




N/A



Total Payments to Proffessionals
                                                                       Page 6




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OXYGEN HOSPITALITY GROUP, INC.
Case Number:                                 19-14401            Balance Sheet Schedules
                                                                               Month:      March-20


                       Other (attach list)
 Other (attach list)
Accrued Interest                                    8,637.94
Total                                              8,637.94




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Vendor ID            Vendor               Invoice/CM #   0 - 30   31 - 60   61 - 90   Over 90 days   Amount Due
COX                  Cox Communications   Dec19                                             229.00       229.00
COX                  Cox Communications   Jan20                                             229.00       229.00

COX                  Cox Communications                                                     458.00       458.00

Libertas Law Group   Libertas Law Group   FC 549                                            188.46       188.46
Libertas Law Group   Libertas Law Group   FC 551                                            191.46       191.46
Libertas Law Group   Libertas Law Group   FC-655                             92.83                        92.83
Libertas Law Group   Libertas Law Group   FC-656                            713.44                       713.44

Libertas Law Group   Libertas Law Group                                     806.27          379.92      1,186.19

Report Total                                                                806.27          837.92      1,644.19




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OXYGEN HOSPITALITY GROUP, INC.

Case Number:                            19-14401                                             CASE STATUS

                                                      QUESTIONNAIRE

                                                                                                                  YES        NO
Have any funds been disbursed from any accounts other than a Debtor-in-Possession account?                               X
Are any post-petition receivables (accounts, notes or loans) due from related parties?                                   X
Are any wages past due?                                                                                                  X
 Are any U. S. Trustee quarterly fees delinquent?                                                                        X

   Provide a detailed explaination of any "YES" answers to the above questions: (attach additional sheets if needed)




   Current number of employees:              0


INSURANCE
                                                                                          Payment Amount &
Carrier & Policy Number                     Type of Policy         Period Covered            Frequency

Liberty Mutual                          General Liabilty        5/01/2019-5/31/2020       $28,836.00
Liberty Mutual                          Umbrella 14Mil          5/01/2019-5/31/2021       $20,832.00
Liberty Mutual                          WorkersComp             5/01/2019-5/31/2022      $117,921.00
Arch                                    D and O Insurance       7/31/19 -7/31/20          $18,900.00


What steps have been taken to remedy the problems which brought on the chapter 11 filing?
The corporate office is closed
Both properties have offers on them
We had 6 employees in the Corp office. We layed off 4 and relocated the last two to he hotel.


Identify any matters that are delaying the filing of a plan of reorganization:
 We have been in Negotiations with the Peter Anadranistakis to purchase the properties. He has been
working with the largest noteholder for an agreement to satisfy their conditions. Also have several third party
buyers for each hotel.




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OXYGEN HOSPITALITY GROUP, INC.
Case Number:    19-14401                                                 DISBURSEMENT DETAIL
                                                                                                  Month:        March-20
                                                                                             Account # Ending in 1345

                                                                                            Bank Name US Bank

                                                    Cash/Electronic Disbursements
                      Date                  Payee                            Purpose                        Amount




                                                            Total Cash/Electronic Disbursements

                                                    CHECKS ISSUED
Check Number          Date                  Payee                             Purpose                       Amount




Total checks listed on this page
Total checks listed on continuation pages


TOTAL DISBURSEMENTS FOR THE MONTH (include cash/electronic disbursements)

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OXYGEN HOSPITALITY GROUP, INC.
Case Number:   19-14401                                    DISBURSEMENT DETAIL
                                                           CONTINUATION SHEET
                                                                         Month:              March-20
                                                                       Account # Ending in 1345

                                                                      Bank Name US Bank


                                           CHECKS ISSUED
Check Number      Date             Payee                    Purpose                    Amount




TOTAL DISBURSEMENTS - THIS PAGE

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                                                                                                                                   Business Statement
                                                                                                                                          Account Number:
             P.O. Box 1800
                                                                                                                                                       1345
             Saint Paul, Minnesota 55101-0800                                                                                             Statement Period:
             8652        TRN                           S                  Y        ST01                                                         Mar 2, 2020
                                                                                                                                                    through
                                                                                                                                               Mar 31, 2020
                                                                                                          1010101010101010101010
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                                                                                                          1010001100001011110110
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              000119905 01 SP 0.500 000638416491730 P Y
              ESTATE OF OXYGEN HOSPITALITY GROUP INC
              DEBTOR IN POSSESSION
                                                                                                     %                                To Contact U.S. Bank
              BANKRUPTCY CASE # 2:19-BK-14401-PS                                                     24-Hour Business
              3600 N 2ND AVE                                                                         Solutions:                             1-800-673-3555
              PHOENIX AZ 85013-3941

                                                                                                     U.S. Bank accepts Relay Calls
                                                                                                     Internet:                                 usbank.com




NEWS FOR YOU


    Scan here with your phone's camera to download the U.S. Bank Mobile App.




INFORMATION YOU SHOULD KNOW
    Effective May 11, 2020 the "Your Deposit Account Agreement" booklet will include updates that may affect your rights. The
    main updates to note in the revised "Your Deposit Account Agreement" booklet sections, and sub sections, are:
        ·    Included in multiple sections
                   o Clarification around reoccurring or one-time merchant debit card transactions
                   o Rebranding of the Premier Line of Credit product to Personal Line of Credit
                   o Clarification on ATM deposit availability
        ·    Addition of "Special Provisions for Third Party Accounts" section
        ·    Definitions section
                   o Added the definition for "account" or "statement" cycle
        ·    Savings Account section
                   o Clarification on "Transfer and/or Withdrawal Restrictions"
                   o Clarification on "Excessive Transfers and/or Withdrawals"
        ·    Levies, Garnishments and other Legal Process section
                   o Additional language and clarity on the legal process
        ·    Funds Availability section
                   o Changes to the Funds Availability section to reflect inflationary adjustments to certain specified dollar amounts
                       for deposited funds:
                                      Funds
                                                                     Current          Amounts effective as
                                    Availability
                                                                    Amounts             of May 11, 2020
                                     Section
                      Immediate Availability - All Accounts                       Up to first $200    Up to first $225
                      Longer Delays May Apply -                                   The first $200       (Increases to)
                      Case by Case Delays                                         of your deposit           $225
                      Longer Delays May Apply -                                     Deposit of         (Increases to)
                      Safeguard Exceptions                                          Check(s)               $5,525
                                                                                   greater than
                                                                                     $5,000
                      Special Rules for New Accounts -                            All references       (Increases to)
                      Retail Consumer and Business                                  of $5,000              $5,525
                      Accounts

                    o Determining the Availability of a Deposit - All Accounts sub-section
                             §      Updated timing on deposits done at an ATM
                    o Deposits at Automated Teller Machines sub-section
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                                                                         BALANCE YOUR ACCOUNT
                                                                         To keep track of all your transactions, you should balance your account every month. Please
                                                                         examine this statement immediately. We will assume that the balance and transactions shown are
                                                                         correct unless you notify us of an error.

Outstanding Deposits
DATE                          AMOUNT                                     1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
                                                                            the left. Record the total.
                                                                         2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
                                                                            and automatic payments that appear on your statement. Withdrawals that are NOT checked off
TOTAL                         $                                             should be recorded in the Outstanding Withdrawals section at the left. Record the total.
                                                                         3. Enter the ending balance shown on this statement.                                              $_____________
Outstanding Withdrawals
DATE                          AMOUNT                                     4. Enter the total deposits recorded in the Outstanding Deposits section.                         $_____________
                                                                         5. Total lines 3 and 4.                                                                           $_____________
                                                                         6. Enter the total withdrawals recorded in the Outstanding Withdrawals section.                   $_____________
                                                                         7. Subtract line 6 from line 5. This is your balance.                                             $_____________
                                                                         8. Enter in your register and subtract from your register balance any checks, withdrawals or other
                                                                            debits (including fees, if any) that appear on your statement but have not been recorded in your
                                                                            register.
                                                                         9. Enter in your register and add to your register balance any deposits or other credits (including
                                                                            interest, if any) that appear in your statement but have not been recorded in your register.
                                                                         10. The balance in your register should be the same as the balance shown in #7. If it does not
                                                                             match, review and check all figures used, and check the addition and subtraction in your register.
                                                                             If necessary, review and balance your statement from the previous month.
TOTAL                         $

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
If you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days* after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WS5D, 60 Livingston
Ave., St. Paul, MN 55107.
· Tell us your name and account number.
· Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
· Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account.
    *Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.
IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number
listed on the front of this statement immediately.
CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE
What To Do If You Think You Find A Mistake on Your Statement
If you think there is an error on your statement, write to us at:
U.S. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.
In your letter, give us the following information:
· Account information: Your name and account number.
· Dollar Amount: The dollar amount of the suspected error.
· Description of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us within 60 days after the error appeared on your statement.
You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.
While we investigate whether or not there has been an error, the following are true:
· We cannot try to collect the amount in question, or report you as delinquent on that amount.
· The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
   pay the amount in question or any interest or other fees related to that amount.
· While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
· We can apply any unpaid amount against your credit limit.
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing
days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The ***INTEREST
CHARGE*** begins from the date of each advance.
REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.
CONSUMER REPORT DISPUTES
We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
may prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S. Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, WI 54903-3447. In order for us to assist you with your dispute, you must provide:
your name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,
affidavit of identity theft), if applicable.




Member FDIC
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                                                   DEBTOR IN POSSESSION                                                                        Account Number:
                                                   BANKRUPTCY CASE # 2:19-BK-14401-PS
                                                   3600 N 2ND AVE                                                                                           1345
                                                   PHOENIX AZ 85013-3941                                                                       Statement Period:
                                                                                                                                                     Mar 2, 2020
                                                                                                                                                         through
                                                                                                                                                    Mar 31, 2020
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INFORMATION YOU SHOULD KNOW                                                                                                                   (CONTINUED)
                                §      Addition of Partner ATMs section
                ·     Removed the following content and will be distributed upon individual product purchase
                          o Safe Deposit Box Agreement
                          o Consumer Reserve Line Agreement
                          o Business Reserve Line Agreement
           Starting May 11, you may pick up a copy at your local branch, view on usbank.com, or call 800.USBANKS (872.2657) to request a
           copy. If you have any questions, our bankers are available to help at your local branch. You can also call us at U.S. Bank 24-Hour
           Banking at 800.USBANKS (872.2657). We accept relay calls.


SILVER BUSINESS CHECKING                                                                                                                        Member FDIC
U.S. Bank National Association                                                                                                Account Number              -1345
Account Summary
                                    # Items
Beginning Balance on Mar 2                     $                390.60
Checks Paid                            1                        325.00-
        Ending Balance on Mar 31, 2020 $                            65.60

Checks Presented Conventionally
Check               Date         Ref Number                     Amount
1001                Mar 20       9253310863                      325.00
                                                                                 Conventional Checks Paid (1)                             $            325.00-

Balance Summary
Date                         Ending Balance
Mar 20                               65.60
    Balances only appear for days reflecting change.

ANALYSIS SERVICE CHARGE DETAIL
Account Analysis Activity for: February 2020
                                   Account Number:                                            -1345                                   $                  5.00
                                   Analysis Service Charge waived                             -1345                                   $                  5.00

                                        Service Activity Detail for Account Number                                 -1345
Service                                                                 Volume                          Avg Unit Price                            Total Charge
Depository Services
     Paper Statement Fee                                                     1                                             5.00000                       5.00
                                    Subtotal: Depository Services                                                                                        5.00
                                    Fee Based Service Charges for Account Number                -1345                                 $                  5.00




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